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Stipulated order modifying plan mohirng
                                  UNITES STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE:

BRIAN L. MOHRING and                                              Case No. 21-20803 CMB
RAYNA L. MOHRING,
                                                                  Chapter 13
                                    Debtor.

                                          STIPULATED ORDER MODIFYING PLAN


            WHEREAS, this matter is being presented to the Court regarding

            [ONLY PROVISIONS CHECKED BELOW SHALL APPLY]:

            :           a motion to dismiss case or certificate of default requesting dismissal

            :           a plan modification sought by: Brian L. Mohring and Rayna L. Mohring.

                       a motion to lift stay
                        as to creditor ____________________________________________________

                       Other:               ____________________________________________________
        WHEREAS, the parties having agreed to settle the matter above conditioned on the terms herein,
based on the records of the Court, and the Court being otherwise sufficiently advised in the premises; and
there being no adverse impact upon other parties by way of this action, thus no notice is required to be given;
now therefore
            IT IS HEREBY ORDERED that the
            [ONLY PROVISIONS CHECKED BELOW SHALL APPLY]

             Chapter 13 Plan dated _________
            : Amended Chapter 13 Plan dated August 14, 2021.
is modified as follows:
            [ONLY PROVISIONS CHECKED BELOW SHALL APPLY]

            :           Debtor(s) Plan payments shall be changed from $4,453.00 to $4,823.00.
                        per month effective September, 2022.

                       In the event that Debtor(s) fail(s) to make any future Chapter 13 Plan payments, the
                        Trustee or a party in interest may file with the Court and serve upon Debtor(s) and
                        Debtor(s)’ Counsel a notice of default advising the Debtor(s) that they have 30 days
                        from the service of the notice in which to cure any and all defaults in payments. If
                        Debtor(s) fail(s) to cure the defaults in payments after having been provided notice
                        under the provision of this Stipulated Order, then the Trustee or a party in interest
                        may submit an Order of Dismissal to the Bankruptcy Court along with an affidavit
                        attesting to a failure to make Plan payments, and the proceedings or case may
                        thereafter be dismissed without prejudice and without further hearing or notice.
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               Debtor(s) shall file and serve _____________________________ on or before
                _________.

               If any of the foregoing is not completed by the date specified, the case may be
                dismissed without prejudice without further notice or hearing upon the filing by the
                Trustee of an Affidavit of Non-Compliance.

               If any of the foregoing is not completed by the date specified, the automatic stay as
                to the property described as________________________________________
                _______________________________________________ may be lifted without
                further notice or hearing upon the filing by the Creditor herein of an Affidavit of
                Non-Compliance.

        :       Other: This stipulated order resolves the certificate of default filed by the Chapter
                13 Trustee on August 10, 2022.

        IT IS FURTHER ORDERED that to the extent any creditor opposes the relief contained herein,
such creditor must file an objection to the same within fourteen (14) days hereof. Should such an objection
be timely filed, the Court shall conduct a de novo hearing regarding the appropriateness of this Stipulated
Order. Should no objection be timely filed, this Stipulated Order shall be deemed final without further notice
and/or opportunity for a hearing.
        IT IS FURTHER ORDERED that in all other respects, the Plan and Order Confirming Plan shall
remain in full force and effect.

SO ORDERED, this ____ day of ________________, 2022



        Dated: ______________________                      ____________________________
                                                           Carlota M. Bohm, Chief Judge
                                                           United States Bankruptcy Court




        Stipulated by:                                     Stipulated by:

        /s/ Gary W. Short, Esq.                            /s/James Warmbrodt, Esq.
        Gary W. Short                                      James Warmbrod, Esq.
        Counsel to Debtor                                  Counsel to Chapter 13 Trustee




        cc: All Parties in Interest to be served by Clerk
